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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

LUIS GONZALEZ,

       Plaintiff,

-vs-                                              CASE NO.: 8:17-CV-02612-CEH-AEP

KIA MOTORS FINANCE, INC.,

       Defendant.
                                      /

                              NOTICE OF PENDING SETTLEMENT

       Plaintiff, LUIS GONZALEZ, by and through his undersigned counsel, hereby notifies the

Court that the parties, Plaintiff, LUIS GONZALEZ, and Defendant, KIA MOTORS FINANCE,

INC., have reached a settlement with regard to this case, and are presently drafting, and

finalizing the settlement agreement, and general release documents. Upon execution of the

same, the parties will file the appropriate dismissal documents with the Court.



                                                      /s/ Octavio Gomez
                                                      Octavio Gomez, Esq.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 13th day of July, 2018, the foregoing was filed

electronically in accordance with the Court’s guidelines, using the Court’s CM/ECF system, and

a copy of which was served via electronic mail to:

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                                                     /s/ Octavio Gomez
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